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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

ANTECH DIAGNOSTICS, INC.                               )
                                                       )
        Plaintiff,                                     )       Case No. 16-CV-10955
                                                       )
v.                                                     )
                                                       )
SHANNON GREELEY and                                    )
SCOTTSDALE VETERINARY SERVICE, P.C.,                   )
                                                       )
                Defendants.                            )



                                     COMPLAINT AT LAW


        Plaintiff, ANTECH DIAGNOSTICS, INC., by its attorneys, McVEY & PARSKY, LLC,

and complaining of Defendants, SHANNON GREELEY and SCOTTSDALE VETERINARY

SERVICE, P.C., states as follows:

                                             PARTIES

        1.      Plaintiff Antech Diagnostics, Inc. (“Antech”) is a California corporation with its

principal place of business in Irvine, Orange County, California, and is registered to do business

in Illinois.

        2.      Defendant SHANNON GREELEY is a citizen of the State of Illinois.

        3.      Defendant SCOTTSDALE VETERINARY SERVICE, P.C. (“Scottsdale”) is an

Illinois professional corporation operating under the assumed name Scottsdale Animal Clinic

with its principal place of business at 8528 S. Cicero Avenue, Burbank, Illinois 60459, and thus

is a citizen of the state of Illinois. Greeley is the president and owner of Scottsdale.
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                                 JURISDICTION AND VENUE

       4.      Jurisdiction of this Court is invoked based upon diversity of citizenship of the

parties, pursuant to 28 U.S.C. 1332, as this action is between citizens of different states, and the

matter in controversy in the action exceeds the sum of $75,000, exclusive of interest and costs.

       5.      Venue is properly laid in the Northern District of Illinois pursuant to 28 U.S.C.

1391, as a substantial part of the events giving rise to this claim occurred within this district, and

because all defendants are subject to personal jurisdiction here.

                                         BACKGROUND

       6.      On or about April 1, 2011, Antech entered into a written Services Agreement (the

“Agreement”) with Defendants.

       7.      Greeley is referred to in the Agreement as the “Animal Hospital Owner.”

       8.      The Defendants agreed to exclusively use Antech’s veterinary diagnostic and

clinical laboratory services (“Laboratory Services”) for an Initial Term of seventy-two (72)

months starting on April 1, 2011, and ending March 31, 2017.

       9.      The Defendants further agreed to purchase Laboratory Services in an amount of

not less than $24,000 per Contract Year (the “Minimum Average Annual Fee”).

       10.     On or about January 17, 2014, the parties entered into an Amended and Restated

Exclusive Laboratory Services Agreement (the “Amended Agreement”), extending the Term of

the Agreement to March 30, 2022, and increasing the Minimum Average Annual Fee to not less

than $42,000 per Contract Year starting January 31, 2014. A copy of the Amended Agreement is

attached hereto as Exhibit A and incorporated herein by reference.

       11.     Section 10 of the Standard Terms and Conditions of the Amended Agreement

provides in part that the Agreement is to be governed by and construed in accordance with the




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internal laws of the State of California. Additionally, the prevailing party in any litigation is

entitled to recover all costs of the proceeding, including attorneys’ fees.

        12.     Starting on or about December 28, 2015, Defendants stopped paying for Antech’s

services.

        13.     Despite several attempts by Antech to arrange for a payment plan with

Defendants, the Defendants continued to not pay for Antech’s services.

                              COUNT I – BREACH OF CONTRACT

        14.     Antech hereby incorporates the averments set forth in paragraphs 1 through 13,

above, as if set forth in full herein.

        15.     The Amended Agreement is a valid and enforceable contract between Antech and

Defendants.

        16.     Antech has performed all material conditions, covenants, and promises required

on its part to be performed according to the terms and conditions of the Amended Agreement.

        17.     Section 8 of the Standard Terms and Conditions of the Amended Agreement

states that an Event of Default occurs if (i) Practice Owner fails to satisfy the Annual Minimum

Fees; (ii) Practice Owner is in material breach of its obligations under the Amended Agreement;

or (iii) Practice Owner fails to pay any amounts pursuant to the Amended Agreement and fails to

cure such default within 20 days of receiving notice from Antech.

        18.     Defendants have breached the Amended Agreement by failing to pay all amounts

due to Antech for its Laboratory Services and by failing to meet the Annual Minimum Fees.

        19.     As a result of Defendants’ breach of the Amended Agreement, Antech is entitled

to damages in the amount of $37,428.60, representing Defendants’ unpaid invoices.




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       20.     Additionally, as a result of Defendants’ breach of the Amended Agreement,

Antech has been damaged in an amount of $235,598.00, representing Antech’s anticipated lost

profits for the remainder of the Agreement.

                                        CONCLUSION

       WHEREFORE, based on the foregoing, Plaintiff Antech Diagnostics, Inc. respectfully

requests that this Court enter judgment in its favor and against Defendants in an amount of

$273,026.60, plus costs and attorneys’ fees, due to Defendants’ breach of the Amended

Agreement, and for such further relief as this Court deems just and proper.

       Plaintiff demands a trial by jury pursuant to Fed. R. Civ. P. 38.


Dated: November 30, 2016                      Respectfully Submitted,


                                              s/John P. McCorry
                                              One of the Attorneys for Plaintiff
                                              ANTECH DIAGNOSTICS, INC.

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